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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

TIDEWATER MARKETING GLOBAL
CONSULTANTS, INC.,

Plaintiff,

Vv. Case No. 8:08-cv-2497-T-26TGW

FREEFUELCENTER.COM, et al.,

Defendants.
/

Notice OF PENDENCY OF OTHER ACTIONS
In accordance with Local Rule 1.04(c), I certify that the instant action:

IS related to pending or closed civil or criminal case(s) previously filed in

this Court, or any other Federal or State court, or administrative agency
as indicated below:

 

 

 

 

x ISNOT related to any pending or closed civil or criminal case filed with this
Court, or any other Federal or State court, or administrative agency.

I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
ACTIONS upon each party no later than eleven days after appearance of the party.

Dated: January 15, 2009
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ZL

Counsel of Record or Pro Se Party
{Address and Telephone]

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